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                                   SO ORDERED: July 06, 2010.




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                                   Frank J. Otte
                                   United States Bankruptcy Judge




                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF INDIANA
                                             INDIANAPOLIS DIVISION

IN RE:                                                                         CASE NO. 10-03692-FJO-13
PATRICIA KAY GRUESSER

DEBTOR(S)

                                           CONFIRMATION ORDER



The debtor’s plan (or amended plan) having been filed on 6/4/2010 and having been transmitted to creditors; and
the trustee, after having conducted a meeting of creditors, has reported to the Court as follows:

        1.       That the plan complies with provisions of Chapter 13 and with other applicable provision of the
                  Bankruptcy Code;
        2.       That any fee, charge or amount required to be paid by the Code or the plan prior to confirmation
                  has been paid;
        3.       That the plan has been proposed in good faith and not by any means forbidden by law;
        4.        That the value, as of the effective date of the plan, of the property to be distributed under the
                  plan on account of each allowed unsecured claim is not less than the amount that would be paid on
                  such claim if the estate of the debtor were liquidated under Chapter 7 of the Bankruptcy Code on
                  such date;
        5.        That each holder of an allowed secured claim provided for by the plan (s) (a) has accepted the plan;
                 (b) the plan provides that the holder of such claim retain the lien securing such claim until the
                 earlier of the payments of the underlying debt determined under non-bankruptcy law or discharge under
                 section 1328, and if the case under this chapter is dismissed or converted without completion of
                  the plan, such lien shall also be retained by such holder to the extent recognized by applicable
                 non-bankruptcy law; further, the value, as of the effective date of plan, of property to be
                 distributed under the plan on account of such claim is not less than the allowed amount of such
                 claim and if property to be distributed to a lender holding a lien on debtor(s)’ personal property
                  is in the form of periodic payments, such payments shall be in equal monthly amount and the holder
                  of such claim secured by personal property shall receive a payment level not less than an amount
                  sufficient to provide to the holder of such claim adequate protection during the period of the plan; or
                  (c) the debtor(s) shall have surrendered the property securing such claim to such holder.
        6.       That the debtor(s) will be able to make all payments under the plan and to comply with the plan;
        7.       That the action of the debtor in filing the petition was in good faith;
        8.        If applicable, a finding has been made on the record, or by affidavit, that the debtor has paid
                  all amounts that are required to be paid under a domestic support obligation and that first become
         payable after the dateDoc
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               or administrative order, or by statute, to pay such domestic support obligation; and
    9.        That the debtor(s) has filed all applicable federal, state and local tax returns as required by section
              1308, as verified on the record or by affidavit; and
    10.       That the trustee or the holder of an allowed unsecured claim objected to the confirmation of the
              plan, then the Court did not approve the plan unless, as the effective date of the plan the value
               of the property to be distributed under the plan on account of such claim is not less than the amount
               of such claim; or the plan provided that all of the debtor(s)’ projected disposable income to be
               received in the applicable commitment period beginning on the date that the first payment is
               due under the plan will be applied to make payments to unsecured creditors under the plan; and
                the “disposable income” test and related confirmation mandates of Section 1325 (b)(2), (b)(3)
               and (b)(4) have been met.
    11.       Property of the estate shall revest in the debtor(s) upon entry of this confirmation order, subject
               to the rights of the Trustee, if any, to assert claim to any additional property of the estate
               acquired by the debtor(s) post-petition pursuant to operation of 11 U.S.C. 1306.


    And the trustee, having reported to the Court and having recommended confirmation of debtor(s)’ plan, the Court now
    adopts the trustee’s report and, therefore,


          ORDERS, ADJUDGES AND DECREES that the debtor(s)’ plan be, and the same is hereby confirmed; and it is
          FURTHER ORDERED that the trustee shall charge such percentage fee as may be periodically be
          fixed by the Attorney General pursuant to 28 U.S.C. Section 586(E) and it is
          FURTHER ORDERED that the Debtor(s) shall pay ANN M. DELANEY, Trustee, as follows:


              $2,800.00 per month for 2 months ($5,600.00) starting 4/18/2010; then,
              $3,715.00 per month for 58 months ($215,470.00) for a total plan base of
              $221,070.00. Debtor shall report to the court within 10 days of settlement
              in personal injury suit.




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